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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                              )
ELHAM SATAKI,                                 )
                                              )
              Plaintiff,                      )
                                              )
       v.                                     )     Civil Action No. 10-0534 (CKK)
                                              )
BROADCASTING BOARD OF                         )
GOVERNORS, et al.                             )
                                              )
              Defendants.                     )
                                              )


PLAINTIFF ELHAM SAKATI’S NOTICE OF REFILING OF ATTACHMENT #4
  TO DOCKET ITEM 44 (EXHIBIT B, THIRD SWORN DECLARATION OF
  AFGE LOCAL 1812 PRESIDENT, TO PLAINTIFF’S MEMORANDUM AND
 ________________MOTION FOR PRELIMINARY INJUNCTION) __________



   NOTICE IS HEREBY given to the Court and all parties that, Plaintiff Elham Sataki,

hereby re-files the “THIRD SWORN DECLARATION OF AFGE LOCAL 1812

PRESIDENT” attached hereto. Said document was originally filed as an exhibit to

Plaintiff’s Memorandum And Motion For Preliminary Injunction (see Attachment #4 to

Docket Item 44), but parts of that document were not legible or cut off.

       June 23, 2010                          Respectfully submitted,



                                             Larry Klayman, Esq.//________________
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